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Beverly J. Anarumo, D.O., FACOP
B. J. ANARUMO, D.O., P.A,
% PEDIATRICS
18308 Murdock Circle, Unit 103
Port Charlotte, FL 33948-1025
941/629-3618 - FAX 941/629-9809

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Mr. Dillon C. Delaney-Gennett
19505 Quesada Avenue, Unit VV 102
Port Charlotte FL 33948

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Patient - HRB ate of Birth: [M015

August 12, 2021

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To Whom It May Concern:

"The above referenced individual, JR CREE is an established patient in my Pediatrics
practice. J am Board Certified in Pediatrics. I have been located in Port Charlotte FL for over 20 years. I
have been asked to provide additional information regarding as disability related to the need to live with
his dog as an emotional support animal, This young man, JERR suffers from mental impairments that
substantially limits his major life activities including sleeping, concentrating and learning. Additionally, I am
a Fellow, in good standing, with the American College of Osteopathic Pediatricians.

J ae | has an emotional support that provides him affection, companionship, and unconditional love,
and furthermore, has.an overwhelming calming influence. The therapeutic benefits of living with companion
animals are: very well documented in medical journals. It is my professional medical opinion that ee
needs to have his dog in residence for emotional support to help ameliorate the symptoms of disability.

if there are any questions or concems, then please contact my office. Lastly - Thank you, in advance,
for accommodating my patient's needs.

‘ Sincerely,
B. J. ANARUMO, D.O., PA,

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Beverly J. Anarumo, D.O., FACOP

 

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EXHIBIT 1
